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UNlTED STA'I`ES DISTRICT COURT
MlDDLE DIS'I`RICT OF FLORIDA

JACKSONVILLE mvlsloN
LINDA wELLS, ;-;-§§§
rlaimiff, ?>As_, ENO;\OSS_U_ 314 §§:
'CV UG'E:‘ a;:
-VS-

UNITED AU'I`O CREDIT CORPORATION,

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COMPI.AINT AND |)EMANI) FOR JURY TRIAL
COMES NOW Plaintiff`, LINDA WELLS, by and through the undersigned counsel and
sues Del`endant, UNI'I`ED AU'l`O CREDIT CORPORATION, and in support thereof respectfully
alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 el seq (“TCPA”)
and the l"lorida Consumer Collection Practices Act, Fla. Stat. § 559.55 et seq. (“FCCPA”)

INTROI)UCTION

l. The TCPA was enacted to prevent companies like Del`endant from invading

American citizen’s privacy and prevent abusive “robo-calls.”

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“ I he TCPA is designed to protect individual consumers from receiving intrusive

and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, -US-~, 132 S.Ct., 740 745 181
L.Ed. 2d 881 (2012).

3. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scour§,e ol`

modern clvilization, they wake us up in the morning; they interrupt our dinner at night they

force thc sick and elderly out of bed; they hound us until we want to rip the telephone out of thc

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wall.”’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give telephone
subscribers another option: telling the auto-dialers to simply stop calling." C)sorio v. Smte Farm
chk, F.S.B., 746 F. 3d 1242, 1256 (l l"' Cir. 2014).

4. According to the Federal Communications Commission (FCC), “Unwanted calls
and texts are the number one complaint to the FCC. 'l` here are thousands of complaints to the
FCC every month on both telemarketing and robocalls. 'l`he FCC received more than 215,000
TCPA complaints in 2014." Facl Sheet.' Wheeler Proposal m Protecl and Empowe)' C¢)nsumers
Agaim'! Umvamed Robocalls, Texrs 10 Wireless Phones, cheral Communications Commission,
(May 27, 2015), http://transition.fcc.gov/Daily_Releases/Daily__Business/2015/db0527/DOC-
333676A1.pdf`.

JURISDIC'l`I()N ANI) VENUE

2. This is an action for damages exceeding Seventy-Five Thousand Dollars
($75,000.00) exclusive of attorney fees and costs.

3. Jurisdiction and venue for purposes of this action are appropriate and conferred by
28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves violations of the TCPA.

4. Subject matter jurisdiction, federal question jurisdiction, for purposes of this
action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the district courts
shall have original jurisdiction of` all civil actions arising under the Constitution, laws, or treaties
of` the United States; and this action involves violations of 47 U.S.C. § 227(b)(l)(A)(iii). See
Mr'm.s~ v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012) and U.s'orio v. Slate Farm Bank, F.S.B.,

746 md 1242, 1249(11"‘ Cir. 2014)

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5. The alleged violations described herein occurred in Columbia County, Florida.
Accordingly, venue is appropriate with this Court under 28 U.S.C. §l39l(b)(2) as it is the

judicial district in which a substantial part ot` the events or omissions giving rise to this action

oecurred.
FACTUAL ALLEGATIONS
6. Plaintil`f` is a natural person, and citizen of the State ol" Florida, residing in

Columbia County, Florida

7. Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8).

8. Plaintil"l` is an “alleged debtor.”

9. Plaintil`f is the “called party.” See Breslow v. Wells Fa)'go chk, N.A., 755 F. 3d
1265 (11th Cir. 2014) and ()sorio v. State Fa)'m Bank, F.S.B., 746 F.3d 1242 (1 lth Cir. 2014).

10. Def`endant is a corporation which was formed in Calil`ornia with its principal place
ol" business located at 1071 Camelback, Suite 100, Newport Beach, Calif`ornia 92660 and which
conducts business in the State of Florida through its registered agent, Corporation Service
Company located at 1201 Hays Street, Tallahassee, Florida 32301.

ll. The debt that is the subject matter of this Complaint is a “consumer debt” as
defined by Florida Statute §559.55(6).

12. Defendant called Plaintiff on l’laintist cellular telephone approximately one
thousand (1000) times in an attempt to collect an alleged debt.

13. Def`endant attempted to collect an alleged debt from Plaintifl` by this campaign of

telephone calls.

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14. Plaintiff is the subscriber, regular user and carrier of the cellular telephone
numbers (850) ***-1308 and (386) ***-3932 and was the called party and recipient of
Defendant’s calls.

15. Upon receipt of the calls from Det"endant, Plaintii"i‘s caller lD identified the calls
were being initiated from, but not limited to, the following phone numbers: (469) 466-3327,
(800) 833-1940, (866) 253-8910, (888) 895-6134, and (469) 466-3333.

16. Upon information and belief, some or all of the calls the Defendant made to
Plaintifl`s cellular telephone number were made using an “automatic telephone dialing systcm”
which has the capacity to store or produce telephone numbers to be called, using a random or
sequential number generator (including but not limited to a predictive dialer) or an artificial or
prerecorded voice; and to dial such numbers as specified by 47 U.S.C § 227(a)(l) (hereinafter
“auto-dialer calls”). l’laintiff will testify that she knew it was an auto-dialer because of the vast
number of calls she received and she received prerecorded messages from Defendant.

17. On several occasions over the last four (4) years Plaintiff instructed Del`endant’s
agent(s)/representative(s) to stop calling her cellular telephone

18. In or about December 2016 l’laintiff answered a call from Defendant and spoke
with an agent/representative and demanded that the calls to her cellular telephonic cease. I’|aintiff
explained that she had fallen ill and was hospitalized and would make a payment when she was
able to, but to stop calling her cellular telephone as it was causing her distress.

19. Despite yet clearly and unequivocally revoking any consent Defendant may have
believed they had to ca11 Plaintii"t"’ s cellular telephone, Defendant continued to place automatic

calls to l’laintiff`s cellular telephone

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20. ln or about June 2017 Plaintiff became so fed up with the harassing phone calls
from Defendant to her cellular phone, she called Defendant and again demanded to Defendant’s
agent(s)/representative(s) that all calls to her cellular telephone stop.

21. All of Plaintift’s demands for the harassment to end were ignored.

22. Defendant has a corporate policy to use an automatic telephone dialing system or
a pre-recorded or artificial voice to individuals just as it did to Plaintiffs cellular telephone in
this ease.

23. Defendant has a corporate policy to use an automatic telephone dialing system or
a pre-recorded or artificial voice just as it did to l’laintiff’s cellular telephone in this case, with no
way for the consumer, Plaintiff`, or Defendant to remove the number.

24. Defendant’s corporate policy is structured so as to continue to ca11 individuals like
Plaintifl` despite these individuals explaining to Defendant they wish for the calls to stop.

25. Defendant has numerous other federal lawsuits pending against it alleging similar
violations as stated in this Complaint.

26. Defendant has numerous complaints across the country against it asserting that its
automatic telephone dialing system continues to call despite requested to stop.

27. Defendant has had numerous complaints from consumers across the country
against it asking to not be called; however, Defendant continues to call the consumers

28. Defendant’s corporate policy provided no means l`or Plaintiff to have her number
removed from Defendant’s call list.

29. Defendant has a corporate policy to harass and abuse individuals despite actual

knowledge the called parties do not wish to be called.

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_)0. Not a single call placed by Defendant to Plaintiff was placed for “cmergency
purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

31. Defendant willfully and/or knowingly violated the 'l`CPA with respect to I’laintil`f.

32. From each and every call placed without consent by Defendant to l’laintifl’s
cellular telephone, Plaintiff suffered the injury of invasion of privacy and the intrusion upon her
right of seclusion.

33. From each and every call without express consent placed by Defendant to
Plaintiff`s cellular telephone, Plaintiff suffered the injury of occupation of her cellular telephone
line and cellular telephone by unwelcome calls, making the telephone unavailable for legitimate
callers or outgoing calls while the phone was ringing from Defendant’s calls.

34. From each and every call placed without express consent by Defendant to
Plaintifl`s cellular telephone, Plaintiff suffered the injury of unnecessary expenditure of her time.
For calls she answered, the time she spent on the call was unnecessary as she repeatedly asked
for thc calls to stop. Even for unanswered calls, Plaintiff had to waste time to unlock the
telephone and deal with missed call notifications and call logs that refiected the unwanted calls.
This also impaired the usefulness of these features of Plaintiffs cellular telephone, which are
designed to inform the user of important missed communications

35. Each and every call placed without express consent by Defendant to Plaintifl`s
cellular telephone was an injury in the form of a nuisance and annoyance to l’laintiff. For calls
that were answered, Plaintiff had to go to the unnecessary trouble of answering them. Even for
unanswered calls, Plaintiff had to waste time to unlock the telephone and deal with missed call

notifications and call logs that reflected the unwanted calls. This also impaired the usefulness of

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these features of Plaintifl`s cellular telephone, which are designed to inform the user of
important missed communications

36. Each and every call placed without express consent by Defendant to Plaintifl’s
cellular telephone resulted in the injury of unnecessary expenditure of Plaintiff"s cellular
telephone’s battery power.

37. Each and every call placed without express consent by Defendant to Plaintifl’s
cellular telephone where a voice message was left which occupied space in Plaintist telephone
or nctwork.

38. Each and every call placed without express consent by Defendant to Plaintifl’s
cellular telephone resulted in the injury ol` a trespass to Plaintifl"s chattcl, namely her cellular
telephone and her cellular telephone services.

39. As a result of the calls described above, Plaintiff suffered an invasion of privacy.
Plaintiff was also affect in a personal and individualized way by stress, and aggravation

COUNT I
(Violation of the 'l`Cl’A)

40. Plaintiff fully incorporates and realleges paragraphs one (1) through thirty nine
(39) as it` fully set forth herein.

41. Defendant willfully violated the TCPA with respect to Plaintiff. especially for
each of the auto-dialer calls made to Plaintist cellular telephone after Plaintiff notified
Defendant that she wished for the calls to stop.

42. Defendant repeatedly placed non-emergency telephone calls to Plaintift`s cellular

telephone using an automatic telephone dialing system or prerecorded or artificial voice without

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Plaintifi`s prior express consent in violation of federal law, including 47 U.S.C §
227(b)(1)(A)(iii).

WI'IEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Defendant for statutory damages, punitive damages, actual damagcs, treble
damages. enjoinder from furthcr violations of these parts and any other such relief thc court may
deem just and proper.

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(Violation of the FCCPA)

43. Plaintiff fully incorporates and realleges paragraphs one (l) through thirty nine
(3 9) as if fully set forth herein

44. At all times relevant to this action Defendant is subject to and must abide by the
laws of the State of Florida, including Florida Statute § 559.72.

45. Defendant has violated Florida Statute § 559.72(7) by willfully communicating
with the debtor or any member of her family with such frequency as can reasonably be expected
to harass the debtor or her family.

46. Defendant has violated Florida Statute § 559.72(7) by willfully engaging in other
conduct which can reasonably be expected to abuse or harass the debtor or any member of her
family.

47. Defendant’s actions have directly and proximately resulted in Plaintif F s prior and
continuous sustaining of damages as described by Florida Statute § 559.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Defendant for statutory damages, punitive damages, actual damages, costs,

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interest, attorney fees, enjoindcr from further violations of these parts and any other such relief

the court may deem just and proper.

Respeetfully submitted,

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Octavio Gomez, Esquirc

Florida Bar No.: 33 8620

Morgan & Morgan, Tampa, P.A.
One Tampa City Center

201 N. Franklin Street, 7th l?loor
'l`ampa, FL 33602

'l`ele: (813) 223-5505

Fax: (813) 223-5402
'l`Gomez@l~`or'I`hel’cople.com
LDobbins{aZ.For'I`hePeople.com

Attorneyfor Plaintiff

